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Glendale, Arizona 85308 D'¢TH‘QTQFAMZQNA
Pro Se Litigant ev " W`HEPUW
kostm@cox.net '
602-214-3345

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

Michael Kost, Case NO.: CV-1q-OO146-PHX'DGC

Plaintiff,
vs.

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Scott Lowery Law Office, P.C.; and, )
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Cach, LLC.,
Defendants.
COMPLAINT
I. INTRODUCTION
1. The PLAINTIFF brings this action in response to the DEFENDANTS perpetual

willingness to violate the Fair Debt Collections Practices Act,

hereinafter “FDCPA”, 15 U.S.C. § 1692, et. seq., the Telephone Consumer

Protection Act, hereinafter “TCPA”, 47 U.S.C. § 227, et. seq., the
Colorado Fair Debt Collections Practices Act, hereinafter “CFDCPA”,

C.R.S. § 12-14-101, et. seq., and Arizona Title 32, Professions and

Occupations, specifically chapter 9 “Collection Agencies”, A.R.S. § 32-

lOOl, et. seq.; the PLAINTIFF wishes to secure redress against this

illegal behavior.

COMPLAINT AND DEMAND FOR JURY TRIAL - l

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COMPLAINT AND DEMAND FOR JURY TRIAL

 

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II. JURISDICTION AND VENUE
This Court has subject matter jurisdiction pursuant to 15 U.S.C. § 1692k
and 28 U.S.C. § 1331 because:
a. the following claims occurred less than one year ago;
b. the issues addressed by this complaint arise overwhelmingly in
response to the DEFENDANTS violations of the FDCPA.
28 U.S.C. § 1367 states this Court shall have supplementary jurisdiction
because:
a. the Court possesses original jurisdiction;
b. all supplementary claims are intimately related or are predicated
directly on the DEFENDANTS abuse of the FDCPA.
Venue and personal jurisdiction over the DEFENDANTS is proper and
supported by 28 U.S.C. § 1391 because:
a. the PLAINTIFF resides in the District;
b. the DEFENDANTS conduct business in the District;
c. a majority of the events and conduct leading to this complaint
occurred in the District.
III. PARTIES
The PLAINTIFF, Michael Kost, is an individual who resides in Glendale,
Arizona.
The PLAINTIFF is a “consumer” as defined by the FDCPA, 15 U.S.C. §
1692a(3).
The Colorado Secretary of State identifies, DEFENDANT, Scott Lowery Law
Office, P.C., hereinafter “Lowery Law Office”, as a valid Colorado
corporation with a principal address of 5680 Greenwood Plaza Boulevard,
Suite 500, Greenwood Village, Colorado 80111; the registered agent for
service of process is Kayla Elizabeth Liggett, found at the same

Greenwood Village, Colorado facilities, however, a separate mailing

COMPLAINT AND DEMAND FOR JURY TRIAL - 2

 

 

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address of 70 Mansell Court, Suite 250, Roswell, Colorado 30076 is
listed.

The Oklahoma Secretary of State identifies, DEFENDANT, Lowery Law Office,
as a foreign for profit corporation operating offices at 1422 East 71St
Street, Suite B, Tulsa, Oklahoma 74136, under the jurisdiction of the
State of Colorado; the registered agent for service of process at this
location is Nicholas Manke Tait found at the same Tulsa, Oklahoma
address.

Oklahoma Statute, Title §§ 18-1130(A) and 18-1130(B)(e) define “foreign
corporation” as a corporation organized pursuant to the laws of any
jurisdiction other than Oklahoma and, that this corporation must be
authorized to conduct any proposed business in the jurisdiction of
original incorporation; the DEFENDANT, Lowery Law Office, is above all
else, a Colorado corporation subject first to laws established in the
State of Colorado regardless of the physical location of their offices.
The CFDCPA, C.R.S. § 12-14-103(2) defines the DEFENDANT, Lowery Law
Office, as a “collection agency”.

Upon information and belief, DEFENDANT, Cach, LLC., is a limited
liability corporation registered in Colorado with a principal address of
4340 South Monaco Street, 2nd Floor, Denver, Colorado 80237; the
registered agent for service of process is listed as ‘The Corporation
Company' found at 1675 Broadway, Suite 1200, Denver, Colorado 80202.

Upon information and belief, DEFENDANT, Lowery Law Office, operates under
discretion and authority of DEFENDANT, Cach, LLC.; DEFENDANT, Cach, LLC.,
is therefore vicariously liable for the actions of DEFENDANT, Lowery Law
Office,

Upon information and belief, Phillip Scott Lowery, aka “Scott Lowery” and

hereinafter referred, is a Colorado licensed attorney with bar number

COMPLAINT AND DEMAND FOR JURY TRIAL - 3

 

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15130; he is a corporate officer with the Lowery Law Office located in
Greenwood Village, Colorado.
Upon information and belief, Nicholas Manke Tait, is an Oklahoma licensed
attorney with bar number 22739; he is a corporate officer with the Lowery
Law Office located in Tulsa, Oklahoma.
Upon information and belief, Jessica Lauren Tait, is an Oklahoma licensed
attorney with bar number 30748; she is a corporate officer with the
Lowery Law Office located in Tulsa, Oklahoma.
The DEFENDANTS, collectively and separately, are “debt collectors” as
defined by the FDCPA, 15 U.S.C. § 1692a(6).

IV. FACTS
The DEFENDANT, Lowery Law Office, initiated contact with the PLAINTIFF by
mail on or about August 2, 2013 claiming to be “retained” by DEFENDANT,
Cach, LLC., to collect $19,687.66 for a debt the PLAINTIFF is allegedly
obligated to pay; a debt the DEFENDANTS assert was obtained from Bank of
America, N.A.
On August 14, 2013, the DEFENDANT, Lowery Law Office, called the
PLAINTIFF'S telephone broadcasting local caller identification number
602-904-7642; this DEFENDANT left the following message on the
unidentified/unsecure, community voicemail, “This message is for Michael
Kost, if you are not Michael Kost please hang-up. If you are Michael
Kost please listen to this message, by listening to this message you
acknowledge that you are Michael Kost. Please listen to this message in
private as it contains private information. My names Joseph Johnson, I’m
a non-attorney debt collector with the Scott Lowery Law Office, This is
an attempt to collect a debt; any information obtained will be used for
this purpose. lt is very important that you call me back, my number is

855-820-5171.”

COMPLAINT AND DEMAND FOR JURY TRIAL - 4

 

 

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On August 20, 2013, the United States Postal Service confirmed the
DEFENDANT, Lowery Law Office, was in receipt of PLAINTIFF'S written
dispute, validation of debt request, and demand to cease all future
telephone communications.

On August 21, 2013, the DEFENDANT, Lowery Law Office, placed a ca11 to
the PLAINTIFF’S parents’ home broadcasting local caller identification
number 623-207-1076; the PLAINTIFF’S elderly father answered this call
believing it originated locally. The agent stated the telephone call was
being recorded before identifying himself as “Anthony”, a debt collector
working for the DEFENDANT, Lowery Law Office; he insisted the PLAINTIFF
contact him immediately, was in trouble, and that this trouble may also
affect him (the Plaintiff’s father). Immediately following this
communication, the PLAINTIFF'S father drove fifty miles panicked with
concern for his son and whether or not his social security/credit
information had been compromised.

On or about August 28, 2013, the PLAINTIFF received correspondence from
the DEFENDANT, Lowery Law Office, this letter contained no additional
information not previously provided; this document rearranged the
unsubstantiated claims contained on the original collection notice, save
the addition of a clause indicating this DEFENDANT had complied with
necessary FDCPA validation of debt requirements.

On September 6, 2013, the DEFENDANT, Lowery Law Office, called the
PLAINTIFF’S telephone broadcasting local caller identification number
602-396-5373; the PLAINTIFF answered believing the call may be one of his
children telephoning from school. This agent identified herself as
“Katie Riffe”, a debt collector working for the DEFENDANT, Lowery Law
Office. The PLAINTIFF inquired why the Lowery Law Office was refusing to

honor the written cease and desist delivered to them the previous month.

COMPLAINT AND DEMAND FOR JURY TRIAL - 5

 

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The agent responded that ceased telephone calls had not been documented
on this file but, she did acknowledge receipt of the letter containing
the request on August 20, 2013.
On September 9, 2013, the United States Postal Service confirmed the
DEFENDANT, Lowery Law Office, had received the PLAINTIFF'S second written
dispute; this letter specifically addressed the statutorily insignificant
documents provided by this DEFENDANT in response to the initial request
for debt validation. The DEFENDANT was reminded compliance with the
FDCPA required documents in support of their claim be supplied no later
than September 20, 2013.
On or about November 26, 2013, the PLAINTIFF received correspondence from
the DEFENDANT, Lowery Law Office, containing duplicate copies of inferior
documents already provided on September 3, 2013 along with a generic bill
of sale between Bank of America and DEFENDANT, Cach, LLC., as well as,
two un-itemized Bank of America credit card statements from October 2011
and February 2012.
V. CLAIMS

CLAIM ONE - FDCPA VIOLATION
The PLAINTIFF hereby repeats, realleges, and incorporates by reference
preceding statements relevant herein.
The FDCPA, 15 U.S.C. § 1692a(2), defines “communication” as any means of
conveying information regarding a debt directly or indirectly to any
person through any medium; this definition includes telephone calls,
voice recordings, and written correspondence.
The FDCPA, 15 U.S.C. § 1692b(1), requires debt collectors communicating
with persons other than the consumer to state he/she is confirming or

correcting information concerning the location of the consumer; the

COMPLAINT AND DEMAND FOR JURY TRIAL - 6

 

 

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statute also obliges debt collectors to conceal the identity of his/her
employer unless this information is expressly requested.
On August 21, 2013, during a telephone communication with the PLAINTIFF’S
father, the DEFENDANTS’ agent, “Anthony”, volunteered he was an employee
of the Lowery Law Office, before he failed to confirm the consumer
location information already in his possession; individually either of
these actions violates 15 U.S.C. § 1692b(1).

CLAIM TWO - FDCPA VIOLATION
The PLAINTIFF hereby repeats, realleges, and incorporates by reference
preceding statements relevant herein.
The FDCPA, 15 U.S.C. § 1692b(2), prohibits debt collectors communicating
with persons other than the consumer from divulging a consumer owes debt.
On August 14, 2013, the DEFENDANTS’ agent, “Joseph Johnson”, chose to
disclose his association with DEFENDANT, Lowery Law Office, and their
intent to collect a debt from the PLAINTIFF on an unsecure and
unidentified voicemail accessible by the PLAINTIFF’S minor children, as
well as, other household visitors; this action violates 15 U.S.C. §
1692b(2).

CLAIM THREE - FDCPA VIOLATION
The PLAINTIFF hereby repeats, realleges, and incorporates by reference
preceding statements relevant herein.
On August 21, 2013, the DEFENDANTS’ agent, “Anthony”, chose to disclose
his position as a debt collector with the DEFENDANT, Lowery Law Office,
and their intent to collect a debt to the PLAINTIFF’S father violating 15
U.S.C. § 1692b(2).

CLAIM FOUR - FDCPA VIOLATION
The PLAINTIFF hereby repeats, realleges, and incorporates by reference

preceding statements relevant herein.

COMPLAINT AND DEMAND FOR JURY TRIAL - 7

 

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The FDCPA, 15 U.S.C. § 1692c(b), prohibits debt collectors from
communications with any person other than the consumer without express
permission from the consumer, except in those instances covered by 15
U.S.C. § 1692b.
On August 21, 2013, the DEFENDANTS' agent, “Anthony”, violated 15 U.S.C.
§ 1692c(b) by participating in an unauthorized communication with the
PLAINTIFF’S father; this agent violated 15 U.S.C. § 1692b, a consequence
of this action is the complete inability to assert the exception in
defense of the current claim.

CLAIM FIVE - FDCPA VIOLATION
The PLAINTIFF hereby repeats, realleges, and incorporates by reference
preceding statements relevant herein.
The FDCPA, 15 U.S.C. § 1692c(c), requires debt collectors to immediately
cease communication with a consumer once written notification to do so
has been received.
On August 21, 2013, the DEFENDANTS' agent, “Anthony", chose to continue
telephone collection efforts by contacting the PLAINTIFF’S father after
being notified to cease such communications in writing by certified mail
on August 20, 2013. Ignoring a written cease and desist violates 15
U.S.C. § 1692c(c).

CLAIM SIX - FDCPA VIOLATION
The PLAINTIFF hereby repeats, realleges, and incorporates by reference
preceding statements relevant herein.
On September 6, 2013, the DEFENDANTS’ agent, “Katie Riffe”, chose to
continue telephone collection efforts by contacting the PLAINTIFF after
being notified to cease such communications in writing by certified mail
on August 20, 2013. Ignoring a written cease and desist violates 15

U.S.C. § 1692c(c).

COMPLAINT AND DEMAND FOR JURY TRIAL - 8

 

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CLAIM SEVEN - FDCPA VIOLATION
The PLAINTIFF hereby repeats, realleges, and incorporates by reference
preceding statements relevant herein.
The FDCPA, 15 U.S.C. § 1692d(1), prohibits debt collectors from
threatening violence or other criminal means to harm persons physically,
through defamation of reputation, or action involving their property.
On August 21, 2013, the DEFENDANTS' agent, “Anthony”, used aggressive and
malicious collection techniques designed to scare or intimidate the
PLAINTIFF’S father; the DEFENDANT, Lowery Law Office, chose to violate 15
U.S.C. § 1692d(1) by implying the PLAINTIFF’S father’s property may be in
jeopardy as a result of the PLAINTIFF’S alleged collection.

CLAIM EIGHT - FDCPA VIOLATION
The PLAINTIFF hereby repeats, realleges, and incorporates by reference
preceding statements relevant herein.
The FDCPA, 15 U.S.C. § 1692e(3), prohibits debt collectors from false
representation, misleading or deceptive actions that may suggest any
individual is an attorney of that any communication is from an attorney
when this is not the case.
A.R.S. § 32-1001 identifies the DEFENDANT, Lowery Law Office, as a
collection agency.
A.R.S. § 32-1021 states entities wishing to conduct business as a
collection agency within the State of Arizona must be licensed with the
state.
A.R.S. § 32-1024 clarifies the licensing requirements established in
A.R.S. § 32-1021 apply equally to out-of-state collection agencies

wishing to conduct business within the State of Arizona.

COMPLAINT AND DEMAND FOR JURY TRIAL - 9

 

 

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According to the Arizona Department of Financial Institutions, the
DEFENDANT, Lowery Law Office, is not licensed to conduct business as a
collection agency within the State of Arizona.

A.R.S. § 32-1004 establishes special exceptions to Arizona collection
agency licensing requirements; stating “attorneys at law” need not be
licensed.

Rules of the Supreme Court of Arizona, Rule 31, Regulation of the
Practice of Law, states no person shall practice law in Arizona unless
that person is an active member of the state bar; further, use of the
designation “attorney at law” is prohibited by any person unauthorized to
practice law in the State of Arizona.

Upon information and belief, none of the DEFENDANTS’ agents, mentioned or
remaining yet unidentified, are licensed to practice law within the State
of Arizona.

Upon information and belief, the DEFENDANT, Lowery Law Office, operates
exclusively as a collection agency within the State of Arizona. While
some of their agents have obtained law degrees, none are members of the
Arizona State Bar, none are permitted use of the term “attorney at law”
within its borders, and none transcend collection agency licensing
requirements established by Arizona Title 32. Therefore, the DEFENDANTS
use of the term “Law Office” is an undetected attempt to subvert Arizona
collection agency licensing requirements and misleads consumers to
believe they are communicating with attorneys rather than a collection
agency.

On or about August 2, 2013, the PLAINTIFF received correspondence from
DEFENDANT, Lowery Law Office, On letterhead reading “Scott Lowery Law
Office, P.C., Attorneys and Counselors at Law, Nicholas M. Tait, Jessica

L. Tait, Admitted in Oklahoma” signed, “Scott Lowery Law Office, P.C.”;

COMPLAINT AND DEMAND FOR JURY TRIAL - 10

 

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this superfluous and repeated legalese is intended to deceive consumers
that the communication was in fact from an attorney and not from an
unlicensed collection agency violating 15 U.S.C. § 1692e(3).

CLAIM NINE - FDCPA VIOLATION
The PLAINTIFF hereby repeats, realleges, and incorporates by reference
preceding statements relevant herein.
On or about August 28, 2013, the PLAINTIFF received correspondence from
DEFENDANT, Lowery Law Office, on letterhead reading “Scott Lowery Law
Office, P.C., Attorneys and Counselors at Law” signed, “P. Scott Lowery,
Attorney at Law”; this superfluous and repeated legalese is intended to
deceive consumers that the communication was in fact from an attorney and
not from an unlicensed collection agency violating 15 U.S.C. § 1692e(3).

CLAIM TEN - FDCPA VIOLATION
The PLAlNTlFF hereby repeats, realleges, and incorporates by reference
preceding statements relevant herein.
On or about November 26, 2013, the PLAINTIFF received correspondence from
DEFENDANT, Lowery Law Office, on letterhead reading “Scott Lowery Law
Office, P.C., Attorneys and Counselors at Law” signed, “Scott Lowery Law
Office, P.C., Nicholas Tait, Esq.(Admitted in Oklahoma), Jessica L. Tait,
Esq.(Admitted in Oklahoma)”; this superfluous and repeated legalese is
intended to deceive consumers that the communication was in fact from an
attorney and not from an unlicensed collection agency violating 15 U.S.C.
§ 1692e(3).

CLAIM ELEVEN - FDCPA VIOLATION

The PLAINTIFF hereby repeats, realleges, and incorporates by reference

preceding statements relevant herein.

COMPLAINT AND DEMAND FOR JURY TRIAL - 11

 

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The FDCPA, 15 U.S.C. § 1692e(10), prohibits debt collectors from using
false or deceptive means to collect or attempt to collect any debt or
obtain information concerning a consumer.
On August 14, 2013, the DEFENDANTS’ agent, “Joseph Johnson”,
electronically altered his telephone’s caller identification number by
transmitting 602-904-7642 to deceive the PLAINTIFF and conceal his true
identity by making the call appear to originate within Arizona’s state
lines; this violates 15 U.S.C. § 1692e(10).

CLAIM TWELVE - FDCPA VIOLATION
The PLAINTIFF hereby repeats, realleges, and incorporates by reference
preceding statements relevant herein.
On August 21, 2013, the DEFENDANTS’ agent, “Anthony”, electronically
altered his telephone’s caller identification number by transmitting 623-
207-1076 to deceive the PLAINTIFF and conceal his true identity by making
the call to appear to originate within Arizona's state lines; this
violates 15 U.S.C. § 1692e(10).

CLAIM THIRTEEN - FDCPA VIOLATION
The PLAINTIFF hereby repeats, realleges, and incorporates by reference
preceding statements relevant herein.
On August 21, 2013, the DEFENDANTS' agent, “Anthony”, made
false/misleading statements to solicit the assistance of and intimidate
the PLAINTIFF'S father; allowing the PLAINTIFF'S father to believe that
his property may be adversely affected by this alleged collection
violates 15 U.S.C. § 1692e(10).

CLAIM FOURTEEN - FDCPA VIOLATION
The PLAINTIFF hereby repeats, realleges, and incorporates by reference

preceding statements relevant herein.

COMPLAINT AND DEMAND FOR JURY TRIAL - 12

 

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On September 6, 2013, the DEFENDANTS’ agent, “Katie Riffe”,
electronically altered her telephone’s caller identification number by
transmitting 602-396-5373 to deceive the PLAINTIFF and conceal her true
identity by making the call appear to originate within Arizona’s state
lines; this violates 15 U.S.C. § 1692e(10).

CLAIM FIFTEEN - FDCPA VIOLATION
The PLAINTIFF hereby repeats, realleges, and incorporates by reference
preceding statements relevant herein.
The FDCPA, 15 U.S.C. § 1692g(b), requires debt collectors to validate
debts disputed in writing within thirty days of the initial notice; debt
collectors in receipt of written disputes must cease collection activity
until the consumer has received verification of debt.
The initial notice of debt issued by the DEFENDANT, Lowery Law Office,
was dated August 2, 2013 and was received by the PLAINTIFF shortly
thereafter.
The United States Postal Service confirms the DEFENDANT, Lowery Law
Office, received the PLAINTIFF’S written request for validation of debt
on August 16, 2013.
To date, the PLAINTIFF has yet to receive suitable documentation
satisfying validation of debt standards established by precedent, such

as, Jodi Fields v. Wilber Law Firm, P.C., et al. (U.S. App. Ct. 7th

 

Dist., 2004) or is adequate to support a claim under Arizona’s Statute of
Frauds, A.R.S. § 44-101.

By failing to comply with the PLAINTIFF’S written request for validation

of debt the DEFENDANT, Lowery Law Office, is in violation of 15 U.S.C. §

1692g(b).

COMPLAINT AND DEMAND FOR JURY TRIAL - 13

 

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CLAIM SIXTEEN - FDCPA VIOLATION
The PLAINTIFF hereby repeats, realleges, and incorporates by reference
preceding statements relevant herein.
The DEFENDANTS' agent, “Anthony”, violated 15 U.S.C. § 1692g(b) by
contacting the PLAINTIFF’S father by telephone on August 21, 2013,

CLAIM SEVENTEEN - FDCPA VIOLATION
The PLAINTIFF hereby repeats, realleges, and incorporates by reference
preceding statements relevant herein.
The DEFENDANTS’ agent, “Katie Riffe”, violated 15 U.S.C. § 1692g(b) by
contacting the PLAINTIFF on September 6, 2013,

CLAIM EIGHTEEN - TCPA VIOLATION
The PLAINTIFF hereby repeats, realleges, and incorporates by reference
preceding statements relevant herein.
The TCPA, 47 U.S.C. § 227(e)(1), states that it is unlawful for any
person to knowingly transmit misleading or inaccurate caller
identification information with the intent to defraud, cause harm, or
wrongfully obtain anything of value.
The TCPA, 47 U.S.C. 227(e)(2), grants entities using IP-enabled voice
devices permission to block receipt of their caller identification
information.
On August 14, 2013, the DEFENDANTS' agent, “Joseph Johnson”, chose to
illegally telephone the PLAINTIFF displaying an electronically altered
caller identification number. Despite having legal alternatives
authorizing him to block the true origin of the ca11 should he wish to
remain anonymous, the DEFENDANTS decided to overtly deceive the PLAINTIFF
by displaying 602-904-7642, a fictitious Arizona telephone number; this

action violates 14 U.S.C. § 227(e)(1).

COMPLAINT AND DEMAND FOR JURY TRIAL - 14

 

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CLAIM NINETEEN - TCPA VIOLATION
The PLAINTIFF hereby repeats, realleges, and incorporates by reference
preceding statements relevant herein.
On August 21, 2013, the DEFENDANTS' agent, “Anthony”, chose to illegally
telephone the PLAINTIFF displaying an electronically altered caller
identification number. Despite having legal alternatives allowing him to
block the true origin of the call should he wish to remain anonymous, the
DEFENDANTS decided to overtly deceive the PLAINTIFF by displaying 623-
207-1076, a fictitious Arizona telephone number; this action violates 14
U.S.C. § 227(e)(1).

CLAIM TWENTY - TCPA VIOLATION
The PLAINTIFF hereby repeats, realleges, and incorporates by reference
preceding statements relevant herein.
On August 21, 2013, the DEFENDANTS' agent, “Katie Riffe”, chose to
illegally telephone the PLAINTIFF displaying an electronically altered
caller identification number. Despite having legal alternatives allowing
her to block the true origin of the call should she wish to remain
anonymous, the DEFENDANTS decided to overtly deceive the PLAINTIFF by
displaying 602-396-5373, a fictitious Arizona telephone number; this
action violates 14 U.S.C. § 227(e)(1).

CLAIM TWENTY-ONE - CFDCPA VIOLATION

The PLAINTIFF hereby repeats, realleges, and incorporates by reference
preceding statements relevant herein.
The CFDCPA, C.R.S. § 12-14~103(2), defines the DEFENDANT, Lowery Law
Office, as a collection agency.
The CFDCPA, C.R.S. §§ 12-14-115(1)(a) and 12-14-118, state it is unlawful
for any person to conduct business as a collection agency without first

obtaining a Colorado collection agency license.

COMPLAINT AND DEMAND FOR JURY TRIAL - 15

 

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The CFDCPA, C.R.S. § 12-14-115(1)(b), prohibits any collection agency
from conducting business by any other name than is licensed.
According to the Colorado Collection Agency Board, the DEFENDANT, Lowery
Law Office, is not licensed in the State of Colorado as a collection
agency.
On or about August 28, 2013, the DEFENDANT, Lowery Law Office, sent
correspondence to the PLAINTIFF on letterhead containing the Greenwood
Village, Colorado address.
The DEFENDANT, Lowery Law Office, is a collection agency operating
offices in Greenwood Village, Colorado, without appropriate Colorado
license; this violates C.R.S. §§ 12-14-115(1)(a) and 12-14-118.

CLAIM TWENTY-TWO - ARIZONA TITLE 32 VIOLATIONS
The PLAINTIFF hereby repeats, realleges, and incorporates by reference
preceding statements relevant herein.
The DEFENDANT, Lowery Law Office, is not an Arizona licensed collection
agency conducting business in the State of Arizona; these actions violate
A.R.S. §§ 32-1021, 32-1024, and 32-1055.

CLAIM TWENTY-THREE - ARIZONA TITLE 32 VIOLATIONS
The PLAINTIFF hereby repeats, realleges, and incorporates by reference
preceding statements relevant herein.
A.R.S. § 32-1051(6), prohibits all who shall be licensed as a collection
agency in the State of Arizona, except for attorneys licensed to practice
law, from using letterhead, literature, slogans, or statements inferring
a collection agency practices law of maintains a legal department.
On or about August 2, 2013, the PLAINTIFF received correspondence from
the DEFENDANT, Lowery Law Office, on letterhead reading “Scott Lowery Law

Office, P.C., Attorneys and Counselors at Law, Nicholas M. Tait, Jessica

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L. Tait, Admitted in Oklahoma” signed, “Scott Lowery Law Office, P.C.”;
this superfluous and repeated legalese violates A.R.S. § 32-1051(6).
CLAIM TWENTY-FOUR - ARIZONA TITLE 32 VIOLATIONS

99. The PLAINTIFF hereby repeats, realleges, and incorporates by reference
preceding statements relevant herein.

100. On or about August 28, 2013, the PLAINTIFF received correspondence from
the DEFENDANT, Lowery Law Office, on letterhead reading “Scott Lowery Law
Office, P.C., Attorneys and Counselors at Law” signed, “P. Scott Lowery,
Attorney at Law”; this superfluous and repeated legalese violates A.R.S.
§ 32-1051(6).

CLAIM TWENTY-FIVE - ARIZONA TITLE 32 VIOLATIONS

101. The PLAINTIFF hereby repeats, realleges, and incorporates by reference
preceding statements relevant herein.

102. On or about November 26, 2013, the PLAINTIFF received correspondence from
the DEFENDANT, Lowery Law Office, on letterhead reading “Scott Lowery Law
Office, P.C., Attorneys and Counselors at Law” signed, “Scott Lowery Law
Office, P.C., Nicholas Tait, Esq. (Admitted in Oklahoma), Jessica L.
Tait, Esq. (Admitted in Oklahoma)”; this superfluous and repeated
legalese violates A.R.S. § 32-1051(6).

VI. REQUEST FOR RELIEF

WHEREFORE, the PLAINTIFF respectfully requests a judgment in his favor and

against the DEFENDANTS as follows:

103. The PLAINTIFF requests the DEFENDANTS’ conduct be declared a violation of
the FDCPA; for noncompliance with the following: one violation of 15
U.S.C. § 1692b(1); two violations of 15 U.S.C. § 1692b(2); one violation
of 15 U.S.C. § 1692c(b); two violations of 15 U.S.C. § 1692c(c); one

violation of 15 U.S.C. § 1692d(1); three violations of 15 U.S.C. §

COMPLAINT AND DEMAND FOR JURY TRIAL - 17

 

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1692e(3); four violations of 15 U.S.C. § 1692e(10); and three violations
of 15 U.S.C. § 1692g(b).

The PLAINTIFF requests the DEFENDANTS' conduct be declared a violation of
the TCPA; for three violations of 47 U.S.C. § 227(e)(1).

The PLAINTIFF requests the DEFENDANTS’ conduct be declared a violation of
the CFDCPA; for noncompliance with C.R.S. §§ 12-14-115(1)(a) and 12-14-
118.

The PLAINTIFF requests the DEFENDANTS' conduct be declared a violation of
Arizona Title 32, Professions and Occupations; for noncompliance with the
following: one violation of A.R.S. § 32-1021; one violation of A.R.S. §
32-1024; one violation of A.R.S. § 32-1055; and three violations of
A.R.S. § 32-1051(6).

The PLAINTIFF requests the DEFENDANTS be ordered to pay him statutory and
punitive damages in the amount of $29,500.00 derived as follows:

a. Statutory damages of $1,000.00 for each FDCPA violation pursuant to
15 U.S.C. § 1692k(2).

b. Statutory damages of $1,500.00 for each intentional TCPA violation
pursuant to 47 U.S.C. § 227(c)(5).

c. Statutory damages of $1,000.00 for each CFDCPA violation pursuant to
C.R.S. § 12-14-113(2); this request is in compliance with C.R.S. §
12-14-113(6) as no unjust compensation from duplicate FDCPA damages
are sought.

d. Punitive damages, consistent in manner and amount as established by
the FDCPA, of $1,000.00 for each Arizona Title 32 violation.

The PLAINTIFF requests the DEFENDANTS be ordered to reimburse him for the
cost of this action as prescribed by 15 U.S.C. § 1692k(a).
The PLAINTIFF requests permanent injunctive relief, forbidding all named

DEFENDANTS and unidentified conspirators from selling, transferring,

COMPLAINT AND DEMAND FOR JURY TRIAL - 18

 

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reporting, or otherwise assigning the alleged referenced account herein

to any other collection agency, debt collector, reseller, or Credit

_Reporting Agency.

The PLAINTIFF requests temporary injunctive relief, forbidding all named
DEFENDANTS and unidentified conspirators from conducting business as a
collection agency or as debt collectors until a Colorado license is
obtained or the principal office located in Greenwood Village, Colorado
has been relocated to a state without such requirements.
The PLAINTIFF requests temporary injunctive relief, forbidding all named
DEFENDANTS and unidentified conspirators from operating a collection
agency or employing debt collectors deployed to collect debts within the
State of Arizona until a Arizona collection agency license is obtained or
the agents for the DEFENDANTS possessing a Juris Doctorate have been
admitted to the Arizona Bar and express complete willingness to
personally administer all agency business within the state since the
licensing waiver extended to practicing attorneys would not eliminate the
need for non-attorney employees continuing to perform duties as debt
collectors from becoming licensed.
The PLAlNTlFF requests any other relief deemed appropriate by this Court.
VII. DEMAND FOR JURY TRIAL
The PLAINTIFF hereby respectfully requests a jury trial on all issues

raised in this complaint.

Dated this 27th Day of January, 2014

 

Michael Kost \\\!

Plaintiff is Pro Se

COMPLAINT AND DEMAND FOR JURY TRIAL - 19

 

